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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION
                             CAUSE NO. 2:21-CV-00017-TLS-JPK

 Jacqueline Johnson and Dwayne Greenleaf,                 )
                                                          )
                                Plaintiff,                )
                                                          )
        v.                                                )
                                                          )
 United States of America                                 )
                                                          )
                                                          )
                                Defendant.                )

                            JOINT STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii), the parties, by counsel, agree and stipulate to dismissal

of this lawsuit, with prejudice. The parties agree that each party shall bear their own costs.

                                       Respectfully submitted,

                                                          Gary T. Bell
                                                          Acting United States Attorney

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